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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

Spire Global, Inc.,

                              Plaintiff,

               v.                                   Civil Action No. 25-168-GBW

Kpler Holding SA,

                              Defendant.


      NOTICE OF INTENT TO SERVE THIRD-PARTY SUBPOENAS TO PRODUCE
      DOCUMENTS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 45

       PLEASE TAKE NOTICE that, on or after March 17, 2025, the undersigned will serve

Subpoenas to Produce Documents, Information, or Objects pursuant to Federal Rule of Civil

Procedure 45 on the following:

       1. Evercore Inc.

       2. Faegre Drinker Biddle & Reath LLP

       3. Freshfields LLP

       4. Van Bael & Bellis


OF COUNSEL:                                           RICHARDS, LAYTON & FINGER, P.A.

WACHTELL, LIPTON, ROSEN & KATZ                        /s/ Jason J. Rawnsley
Graham W. Meli (pro hac vice)                         Rudolf Koch (#4947)
Kevin S. Schwartz (pro hac vice)                      Jason J. Rawnsley (#5379)
Adebola O. M. Olofin (pro hac vice)                   Matthew D. Perri (#6066)
Joseph S. Tobin (pro hac vice)                        920 North King Street
Julia M. Bruce (pro hac vice forthcoming)             Wilmington, Delaware 19801
Todd S. Gilman (pro hac vice)                         (302) 651-7700
51 West 52 Street                                     koch@rlf.com
New York, NY 10019                                    rawnsley@rlf.com
(212) 403-1000                                        perri@rlf.com
gwmeli@wlrk.com
kschwartz@wlrk.com                                    Attorneys for Defendant Kpler Holding SA


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aomolofin@wlrk.com
jstobin@wlrk.com
jmbruce@wlrk.com
tsgilman@wlrk.com

COOLEY LLP
Sarah Lightdale (pro hac vice)
Philip Bowman (pro hac vice)
Kaitland Kennelly (pro hac vice)
55 Hudson Yards
New York, New York 10001
(212) 479-6000
slightdale@cooley.com
pbowman@cooley.com
kkennelly@cooley.com

Dated: March 17, 2025




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